                                                       UNITED STATES DEPARTMENT OF COMMERCE
                                                       Office of the General Counsel
                                                       OFFICE OF THE CHIEF COUNSEL FOR TRADE ENFORCEMENT & COMPLIANCE
                                                       Washington, D.C. 20230



                                                    March 4, 2025


FILED ELECTRONICALLY VIA CM/ECF

Mario Toscano
Clerk of the Court
U.S. Court of International Trade
One Federal Plaza
New York, NY 10278-0001

Re:    Redetermination Pursuant to Court Remand Order in Kingtom Aluminio S.R.L. et al., v.
       United States, Court No. 22-00079

Dear Mr. Toscano:

        Pursuant to the Court’s order of November 6, 2025, please find attached the U.S.
Department of Commerce’s Redetermination Pursuant to Court Remand in the above-captioned
action. Please note that the remand redetermination is being filed ahead of the Court’s March 6,
2025, deadline. The remand redetermination is a public document.

       In accordance with Court Rule 56.2(h)(1), filing of the administrative record index for the
remand proceeding will follow under separate cover. Should you have any questions concerning
the matter, please contact me at (202) 482-1823.

                                             Respectfully submitted,


                                             /s Jesus N. Saenz
                                             Jesus N. Saenz
                                             Senior Attorney
                                             Office of the Chief Counsel
                                                for Trade Enforcement & Compliance




Attachment
Mr. Mario Toscano
March 4, 2025
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